Case 19-02167-CMB   Doc 17   Filed 10/08/19 Entered 10/08/19 10:01:39   Desc Main
                             Document     Page 1 of 6
Case 19-02167-CMB   Doc 17   Filed 10/08/19 Entered 10/08/19 10:01:39   Desc Main
                             Document     Page 2 of 6
Case 19-02167-CMB   Doc 17   Filed 10/08/19 Entered 10/08/19 10:01:39   Desc Main
                             Document     Page 3 of 6
Case 19-02167-CMB   Doc 17   Filed 10/08/19 Entered 10/08/19 10:01:39   Desc Main
                             Document     Page 4 of 6
Case 19-02167-CMB   Doc 17   Filed 10/08/19 Entered 10/08/19 10:01:39   Desc Main
                             Document     Page 5 of 6
Case 19-02167-CMB   Doc 17   Filed 10/08/19 Entered 10/08/19 10:01:39   Desc Main
                             Document     Page 6 of 6
